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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION
                                        www.flsb.uscourts.gov

In re:
                                                      Case No. 17-13561-EPK
NORMAN ALBERT SCOTT,
                                                      Chapter 7
      Debtor.
________________________________/

        SUPPLEMENT TO MOTION TO DISMISS FOR DEBTOR’S FAILURE
     TO FILE CERTIFICATION ABOUT A FINANCIAL MANAGEMENT COURSE

         Creditor, Shoma at Royal Palm Condominium Association, Inc. (“Shoma”), by and

through its undersigned counsel and pursuant to 11 U.S.C. § 707(a)(1), files this Supplement to

Motion to Dismiss due to the failure of Norman Albert Scott (the “Debtor”) to file the Certification

About a Financial Management Course, as follows:

         1.    On December 10, 2017, Shoma filed its Motion to Dismiss due to Debtor’s failure

to file the Certification About a Financial Management Course (the “Motion to Dismiss”) [ECF

No. 86].

         2.    The reason why Shoma was forced to file its Motion to Dismiss is because the

Debtor failed to file his Certification About a Financial Management Course which was due on

July 7, 2017 – over five (5) months prior to the filing of the motion – delaying the entry of his

discharge and keeping the automatic stay in place. See 11 U.S.C. § 362(c)(2)(C) (“…the stay of

any other act under subsection (a) of this section continues until the earliest of – if the case is a

case under chapter 7 of this title …, the time a discharge is granted or denied”).

         3.     The Debtor’s failure to file a Certification About a Financial Management Course

on or before July 7, 2017 appears to have been a deliberate and bad faith attempt on the part of the

Debtor to delay having his discharge entered in order to keep the automatic stay in place and
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prevent Shoma from continuing its pre-petition litigation against the Debtor and the real property

securing Shoma’s claim or force Shoma to incur fees and costs in seeking relief from the automatic

stay.

        4.     This is the Debtor’s fifth bankruptcy filing in this Court since 2010, with the prior

4 cases being dismissed. See Clerk’s Evidence of Repeat Filings which appears on the docket on

March 27, 2017.

        5.     On October 9, 2017, the Trustee filed her Report of No Distribution [ECF No. 81].

        6.     On December 12, 2017 – two (2) days after the filing of the Motion to Dismiss, the

Debtor completed his post-petition financial management course [ECF No. 89].

        7.     However, at 5:29 p.m. on January 2, 2018 – the day before the scheduled hearing

on the Motion to Dismiss, Joshua Hauserman, an attorney that appears to be the Debtor’s new

bankruptcy counsel (although no notice of appearance has been filed) filed the Certification About

a Financial Management Course [ECF No. 89] even though the Debtor completed his course on

December 12, 2017.

        8.     The actions of the Debtor are grounds for dismissal of this case under Bankruptcy

Code Section 707(a)(1) which provides that is Court may dismiss this case on the grounds that the

Debtor has caused unreasonable delay that is prejudicial to creditors.

        9.     Shoma has been prejudice monetarily by the Debtor’s unreasonable delay of having

to hire undersigned counsel to prepare the Motion to dismiss at appear at tomorrow’s hearing and

has also been prejudiced because even if the Debtor would have filed his Certification About a

Financial Management Course on December 12, 2017 (some five months after it was due), at least

his discharge would have been entered (and the stay automatically lifted) which would have

allowed Shoma would have been able to proceed in state court in rem against the property.



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       10.     This Debtor appears to be a serial bad-faith filer and should not be permitted to

abuse the bankruptcy process and prejudice his creditors.

       WHEREFORE, Shoma at Royal Palm Condominium Association, Inc. respectfully

requests, pursuant to 11 U.S.C. § 707(a)(1), the entry of an order dismissing this case with a two-

year prejudice period and for such other appropriate relief.

       Dated: January 2, 2018                 WASSERSTEIN, P.A.
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                                                      Of Counsel to Wasserstein, P.A.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of January, 2018, a true and correct copy of the

foregoing was served by CM/ECF on all parties listed below.


                                                      /s/ Mark S. Roher
                                                      Mark S. Roher

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